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                                        al) 11/19 /2.D                                              FILED
                                                                                                IN CLERl<:: 'S OFFICE
                                                                                          U.S. DISTRICT COURT E.D.N.Y.
                          IN THE UNITED-STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK
                                                                                          *      NOV 19 2020         *.
                                                                                          LONG ISLAND OFFICE

   Rdhl Pu'J_
  J- ~1 ~ oveilo         P)ace.--                                 Complaint for Employment
                                                                  Discrimination
   '&1/d w,w, r1:y // )IIJ                                                                                          55·
(Write the fuU name of each plaintiff who is filing
this complaint. If the names of all the plaintiffs_
                                                                  Case Noc      v-· ·.2.
                                                                  (to be filled in by the Clerk's Office)
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                                                                                                            .~0 ,: - ,..;   ·_


cannot fit in the space above, please write "see
attached" in the space and attach an additional
                                                                  Jury Trial:     D Yes □ No
page with the full list of names.)                                                (check one)           . AZRACK, J.

    -against-
                                                                                                       LOCKE,M.J.

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..,__.__~ ~ ~ = - - t,t' §ch,v}
  PIX J.#-''I      ' · -[J7
         I . 5,, 1,,Y,    ·   db
(Write the full name _of each defendant who is
being sued If the names of all the defendants ·
cannot fit in the space above, please write "see
attached" in the space and attach an additional
page with the full list of names.)
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I.    The Parties to This Complaint

      A.    The Plaintiff(s)

            Provide the information below for each plaintiff named in the complaint. Attach
            additional pages if needed.

                   Name                       l?vkrf ·&,ry            .
                   Street Address              J .~19 oVfn:fu-/JKI,
                                                                      ;'bcec
                   City and County            8BldtA11'al; },/PrftfJY Cv11tt~
                   State and Zip Code          N evl YuC?X l I\ S'! 0
                   Telephone Number             s-/ft,- Lf,s_l:J - 77 / S
                   E-mail Address              .g,;baf       13~3    (ha.-1   I   CQl'1


      B.    The Defendant(s)

            Provide the information below for each defendant named in the complaint,
            whether the defendant is an individual, a government agency, an organization, or
            a corporation. For an individual defendant; include the person's job or title (if
            known). Attach additional pages if heeded.

            Defendant No. 1         .~ Jf MJI/C4)1   Jhlls (ex)-h-41 >~I v~w
                   Name                      :2<, ~e,~e'1 Wl~D            ~~rty ·_
                  · Job or Title             1t~~11-~r 5~1,t
                    (if known) ·
                   Street Address            p~       /~}f   1/cdw U<~
                   City and County           -Pix Ji-rl& ; 3 ul+o lK CtJ®'bt
                   State and Zip Code        J/, '/4~i -I 171/(,
                  . Telephone Number         fJJ},Jl52a .,. . 30-0-0
                   E-mail Address
                   (if known)

            Defendant No. 2            ,-kW J~tlbW l1f8J c~~ScJ1h) PrsW
                   Name                         Jrk. WR-foe..·£ h-'W~
                   Job or Title              M.s.-s~ . Prrl\C,;pd
                   (if known).
                   Street Address            5JS Jkllf- Jik)IM Rwl
                   City and County          .1)j~ ;JN(~.> ~ viPro IK. Cc      vnly
                                               2
Case 2:20-cv-05656-JMA-JMW Document 1 Filed 11/19/20 Page 3 of 18 PageID #: 142




                     State and Zip Code      tJ~,J V{J(l)(l· JI 1ft;
                    Telephone Number           &3 I- S-t/;)--.Jap
                     E-mail Address
                     (if known)

      C.     Place of Employment

             The address at which I sought employment or was employed by the defendant(s) .
             1s:

                     Name                   ~l\l¾Hollow fh:lk W\'b ( sJwrA {h-5f(J
                     Street Address           ~,c; vlolf HHI liol>d
                     City and County          b,x
                                              D ~II>Hi I ) 5 vffi ~K l(H1"-41i
                     State and Zip Code
                                       !
                                              Nwi y~ 1 l )7'/6
                     Telephone Number

II.   Basis for Jurisdiction

      This action is ·brought for di~crimination in employment pursuant to (check all that
      apply):

             ri      Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e _
                     to 2000e-1_7 (race, color, gender, religion, national origin).

                     (Note: In order to bring suit infederal
                                                         .
                                                             district court under
                                                                             .    Title VIL you
                     mustfirst obtain a Notice ofRight to Sue letter from the Equal
                    _Employment Opportunity Commission.)

             fi      Age Discrimination in Employment Act of 1967, as codified, 29 U.S.C.
                     §§ 621 to 634.

                      (Note: In order to bring suit in federal district court under the Age
                    · Discrimination in Employment Act, you must first file a charge with the
                      Equal Employment_ Opportunity Commission.)

             ~      Americans ~ith Disabilities Act of 1990, as cqdified, 42 U'.S.C. §§ 12112
                    to 12117.

                     (Note: In order to bring suit in federal district court under the Americans
                    with Disabilities Act, you must first obtain a Notice of Right to Sue letter
                    from the Equal Employment Opportunity Commission)




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               □      Other federal law (specify the federal law):


               □      Relevant state law (specify,    if known):

               □      Relevant city or county law (specify,    if known):


III.   Statement of Claim

       Write 8: short and plain statement of the ciaim. Do not make legal arguments. State as
       briefly as possible the facts showing that each plaintiff is entitled to the damages or other
       relief.sought. State h0w each defendant was involved and what each defendant did that
       caused the plaintiff harm or violat~d the plaintiff's rights, including the dates and places
       of that involvement or conduct. If more than one claim is asserted, -number each claim
       and write a short and plain ·statement of each claim in a separate paragraph. Attach
       additional pages if needed.

       A.     The discriminatory conduct of which I complain.in this action includes (check all
              that apply):

                      □       Failure to hire me.
                      □       Termination of my employment.
                      □       Failure to promote me.
                      □       Failure to accommodate my disability.
                      ~       Unequal terms and conditions olmy employment.
                      0'      Retaliation.
                      [M" · . Other acts (specify):         D1$,C() h') jllfrt'.~
                      (Note:· Only those grounds raised in the charge filed with the Equal
                      Employment Opportunity Commission can be considered by the federal
                      district court under the federal employment discrimination statutes.)

       B.     It is my best recollection that the alleged•discriminatory acts occurred on date(s)

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          C.    I believe that defendant(s) (check one):

                       □       is/are still committing these acts against me.
                       ~       is/are not still committing th~se acts_against me.·   NJfl
          D.    Defendant(s) discriminated against me based on my (check all that apply and
                explain):

                       l!1     race - - - - - - - - - - - - -
                       QI      color
                                     ------------
                      .~     . gender/sex _ _ _ _ _ _ _ _ __
                       □       religion _ _ _ _ _ _ _ _ _ __
                       □       national origin _ _ _ _ _ _ _ __
                       □     .age.  My year of birth is _ _ _ __          (Give your year of birth
                               only ifyou are asserting a- claim of age discrimination.)
                       -M      disability or perceived disability (specify disability)
                                 tf€A~J   I .   ~U+t~()


          E.    The facts of my case are as follows. Attach additional pages if needed.

                    £\~ '1,_ll-~ ~q'~,,-~J.




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               (Note: As additional support for the facts ofyour claim, you may attach to this
               complaint a copy ofyour charge filed with the Equal Employment Opportunity
               Commission, or the charge filed with the relevant state or city human rights
               division.)


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.•
        IV.   Exhaustion of Federal Administrative Remedies
              A.       It is my best recollection that I filed a charge with the Equal Employment
                       Opportunity Commission or my Equal Employment Opportunity coW1Selor
                       regarding the defendant's alleged discriminatory conduct on (date)



              B.       The Equal Employment Opportunity Commission (check one): ·
                              D       has not issued a Notice ofl,light to Sue letter.
                             ·fif'    issued a Notice of Right to Sue letter, which r received on (date)      1ff'1/ ao't).()
                                      (Note: Attach a copy ofthe Notice ofRight to Sue letter from the
                                      Equ4l Employment Opportunity Commission to this complaint.)

              C.       Onty·titigants alleging age dis~rimination must answer this question.

                       Since fiiing my charge of age discrimination with the Equal Employment
                       Opportunity Commission regarding the defendant's alleged discriminatory
                       conduct (check one):

                             ·□       60 days or more have elapsed.
                              □      _less than 60 days have elapsed.
        V.    Relief

              State briefly and precisely .'\\'.h~t damages or other relief the plaintiff asks the court to
              order. Do not make legal argwnents. Include any basis for claiming that the wrongs
              alleged are continuing at the present tim~. Include the amounts of any actual damages
              claimed for the acts alleged and the basis for these amounts. Include any punitive or
              exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
              actual or punitive money damages.

                                     . - .. -~- ~ ~ w                                    YM, ~:chtnJ~




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VI.   Certification and Closing

      Under Federal Rule of Civil Procedure 11, by signing below, I certify to the bestofmy
      knowledge, information, and belief that this complaint: (1) is .not being presented for an
      improper p1,1rpose, such as to harass, cause unnecessary delay, or needlessly increase the
      cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
      extending, modifying, or reversing existing law; (3) the factual contentions have
      evidentiary support or, if specifically so identified, will likely have evidentiary support
      after a reasonable opportunity
                                 .  .  .for further investigation or discovery; and (4) the
      complaint otherwise complies with the requirements of Rule 11.

      A.     For Parties Without an Attorney

             I agree to provide the Clerk's Office with any changes to my address where case-
             related papers may be served. I understand that my failure to keep a curienf
             address on file with the Clerk's Office may result in, the di.smissal of my case.

             Date of sig.ning: _jj_/_/7 /   ,20~~

             Signature of Plaintiff
             Printed Name of Plaintiff
                                             w~_:
                                             7t::. -;ra1
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                                                                                        11/11/2020


                                       My Justified Complaint
                                        EEOC Charge No
                                         16G-2020-01066

 In mid April of 2017, I was fulfilling my role as a paraprofessional in a special education
 classroom. The room was transformed from a general setting to that of a home economics style
 classroom. There were approximately 15 paraprofessionals with 15 students and one teacher.
 These students were in the middle of a project while a group of the paraprofessionals chatted
 amongst themselves. Jennifer Palumbo (a Paraprofessional) was explaining to the other
 paraprofessionals her experience with a personal trainer. She went into detail about what her
 trainer was instructing her to do in a loud tone, coming off as if she wanted others to pay
 attention to her story. At the time, I was not paying attention to that conversation, as I was
 focusing on my student. Eventually, she called my name and asked if I worked out. I nodded
 and simply said, "I was a trainer." She responded to my answer in a seductive tone, asking
 "How would you like to work this out?" Her question was followed by a hand gesture, which
 began at the top of her body and moved downward. I closed my eyes in frustration and shock
 and then turned away to continue with my student.

 The following day after this uncomfortable incident, I heard my name over the loud speaker,
 directing me to go to the main office. Principal, Dr. Michael Catapano, and Mr. Wayne Ebanks,
 wanted to confront me regarding a false claim coming from an anonymous paraprofessional that
 I made an "uncomfortable" comment. I was told that I would not formally be written up and, due
 to confidentiality, the identity of this paraprofessional would remain unnamed. I expressed my
 dissatisfaction being falsely accused of making any kind of uncomfortable statement. I asked
 both superiors if there were any other concerns that I should be aware of. They replied by
 saying that there were not and that I was excused. Before excusing myself, I voiced my
 concern about returning to the classroom setting because of this incident.

 After pondering on this for several weeks, I believed that I knew who the accuser was. In the
 end, my intuition was correct. I tried my best to avoid Jennifer Palumbo and focus on my
 student.

 On Tuesday, February 6, 2018 at 12:45 p.m ., I met up with Paraprofessional Union
 Representative Lori Levine for a schedu led meeting at 1 :00 p.m. with Assistant Superintendent
 Dr. Jeffrey Woodberry, Assistant Principal Mr. Wayne Ebanks, and Director of Special Education
 Michelle Melfie. Lori and I waited in a waiting area for 1.5 hours and were not called in until 2:30
 p.m., which seemed to be intentional in order to create an anxious mindset for the both of us,
 especially focused on me.

 When entering, both Dr. Woodberry and Mr. Ebanks were silent. Neither made eye contact and
 both had negative facial expressions, creating an unnecessarily, tense atmosphere. As Mr.
 Ebanks sat with his arms crossed, Dr. Woodbury was gathering documents in an uptight
 manner. When Mrs. Lori Levine and I found our seats, there was no courteous or friendly talk
 between any of the parties in the room, immediately creating a tense environment. I was quite
 appalled about their intimidating behavior, as the reason for the meeting was because of the
 letter that I had written to Dr. Woodberry regarding the school bus incident. My request was to
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 express that I was being treated unfairly in the workplace and being retaliated against due to the
 letter I wrote to Dr. Woodberry regarding the hostile work environment, especially the incident
 that occurred on the after school bus when Jennifer apologized for the false accusation.

 Dr. Woodberry was very defensive and increased his arrogant behavior when I expressed very
 clearly the details what took place on the school bus when the last student had been dropped
 off. Paraprofessional Jennifer Palumbo walked from the back of the bus to the front of the bus
 where I was sitting on the first seat passenger side and Jennifer sat first seat drivers side right
 behind the bus driver, Ei leen. Jennifer apologized for falsely accusing me of what I did not say
 to her (check bus video). Jennifer confessed, "I'm sorry for what I did. I know you are a good
 guy, I am so sorry for what I did". She confessed also that the other paraprofessionals, Filomena
 Crabtree, Linda Renert, Anna Murania, and others forced her to make the false accusation. My
 response was, "Did they have a gun to your head?," as I was trying to imply that she was not
 entirely forced to do it and did not feel that she had enough power to retaliate. With hesitation,
 she responded with "no," which resulted in me walking away from the conversation with nothing
 but frustration, yet relief.

 I stated to Dr. Woodberry that I would like to clarify my character, which I felt had clearly been
 tainted.

 Instead of Dr. Woodberry responding in a rational, authoritative and compassionate fashion
 about my factual description of the events that took place, he became very defensive and
 heated as he clearly defended Jennifer.

 During the meeting, Dr. Woodberry and Mr. Ebanks body's and facial languages increasingly
 became more intimidating. The tone alone in their voices were extremely demeaning,
 condescending, and threatening. They were creating a very uncomfortable environment that
 made me feel like I was doing something wrong and that's furthest from the truth. This meeting
 was supposed to be about seeking help that I was requesting, but instead, it felt as if my factual
 statements actually infuriated them. Dr. Woodberry hurried the meeting at this point and cut it
 short.

 As Lori and I proceeded to exit the conference room, Lori Levine stated, in a whisper, that Dr.
 Woodberry was not happy and that she was very nervous about his conduct.


 Irene Davison and Phyllis O'Shea were both made aware of the incident on the bus that evening
 when I called them to explain. The next morning, when I saw Irene and Phyllis, they both told
 me, "You're a man, get over it" (check video from main lobby).

 Dr. Woodberry then said there would be an investigation, beginning in February. Well February
 passed, March, April, May and then June, the last month before summer break.


 I was assigned to the copy room, where I was directed by Mr. Ebanks to shadow, follow and ask
 questions to Shaymaa Abdelkader. I did mention to Mr. Ebanks and his secretary, Sandy, that I
 was not familiar on how to work the copy machines. Mr. Ebanks responded in a cold manner by
 saying to just "get used to it." I entered the copyroom/teacher room and approached Shaymaa
 and introduced myself. She ignored me and displayed no interest in becoming co-workers. She




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 was constantly on her cell phone,(EXHIB PICS) speaking in what I believed to be Arabic. I
 repeatedly asked her questions about the copy machines, but she refused to assist me.
 After approximately one week, I had no choice other than to return to Mr. Ebanks' office to
 explain the issues. His response was, "It is her domain". I asked how I was expected to work
 under these conditions with no help at all. Mr. Ebanks said that "she is having difficulty, it's her
 culture." I was not comprehending how the fact that she was Muslim would affect her work
 ethics. We were working for the same cause, making copies, trouble shooting and fixing the
 machines, which has no relation to anyone's culture.
 A meeting was set up soon after in Mr. Ebanks' office. Those present were Union Rep Phyllis
 O'Shea, Shaymaa, myself and Mr. Ebanks. She had Mr. Ebanks speak on her behalf, who
 expressed that she did not like me, but would not give a reason . I was willing to work with her,
 but Shaymaa refused to cooperate. Shortly after this incident, I was removed from my copy
 room assignment and assigned to sit in the cafeteria against the wall as a "Floater".
 Phyllis O'Shea reminded me many times that she thought Ebanks was a "racial bastard" and
 made sure he took care of his "own color." She had limited time before she could retire therefore
 she kept quiet and made no waves.

 That is when I filed papers to the Human Rights Division. (end of May- begin of June, 2018)

 I was also assigned to the student to only escort him to his class. I was not allowed in the
 classroom and therefore had to wait outside in the hall during this time (sometimes I had a chair,
 most times not). I peeked into the window of the classroom to check on him and was ready to
 escort him to his next class. (SEE EXHIBIT PAGE 4)

 The new school year begins in Sept 2018. It had been eight months and still I had not heard any
 word about the results or any type of investigation. Therefore, I assumed that there was no
 investigation taking place. Regardless of the allegations, I stayed professional with others and
 remained on point. I received no feedback whatsoever, but Mr. Ebanks kept moving and
 changing my assignments, trying to create a trail to falsely show that I was incapable of
 performing any job. Both Dr. Woodberry and Mr. Ebanks tried their best to make my time at Half
 Hollow Hills Central School District a miserable and hostile one, through the acts of bullying,
 harassment, racial discrimination, slander, and intimidation.

 The racial discrimination was apparent when Mr. Ebanks would choose African American
 employees for extra employment opportunities over caucasian employees. I approached Mr.
 Ebanks regarding an open after-school bus opportunity, but was turned down many times while
 the positions were given to those of color. Additionally, he accused me of coming in late on
 multiple occasions, but waived this act for any African American employees, such as
 Paraprofessionals Mike, Chris, Dave, Briana and others of color. (check video) . Keep in mind I
 did get along with these other peers.

 At one time Mr. Ebanks and Dr. Catapano called me down to the office accusing me of coming
 in late. My first and only question was, "did you check the video "because I was on time?". I
 never heard about that topic again.

 Many times, other paras who were African American used phones and were not penalized.
 There were many times I was not using my phone, but was falsely accused and penalized
 (check video). There were times when Chris and Mike, as well as other paraprofessionals Dave




                                                 3.
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  Simon, Briana Davis would use their phones in the classroom or elsewhere with their students.
  Mr. Ebanks would witness this misconduct and ignore it.

 There were many false allegations to create a dirty trail against me, i.e. on September 28th
 2018 I believe I was in Mr. Ebank's office discussing the double assignment I was assigned, I
 explained I was not comfortable with the 2nd student because of the high risk factor due to a
 near death car crash he was in the prior year (both union reps agreed). Due to the meeting with
 Mr. Ebanks I was tardy for the class for the 1st student.
 The other allegations were simply false. Regards to(EXHIBIT Allegation #5) that is just off the
 charts wrong. By slandering my character, they created a false and fictitious story which held no
 truth . (See attached document, false claims)

 There is no doubt in my mind that Dr. Woodberry and Mr. Ebanks will deny all of these hostile
 events that occurred. They failed to tell the truth and even made false accusations about events
 that never took place. Dr. Woodberry and Mr. Ebanks need to be held accountable for all of their
 false and negative actions and statements and have to stop retaliations, intimidations, and
 discrimination based on their race and titles. When an employee files legitimate complaints
 about hostile and offensive workplace regarding verbal and non verbal actions, the investigation
 needs to be done appropriately and people involved need to be held accountable for their
 actions. Double standards are present in this district, which should not be present at all.

  Many employees were afraid to come forward because they did not want to be forced out, as I
  was, and lose their jobs. My goal was to address the issues, fix them, and still maintain
  employment in this district.

 I believe the date was October 12th, 2018, Principal Dr. Michael Catapano stopped me and in a
 whisper said to me, "via message from Dr. Woodberry, "You're being sent home". (Confused) "I
 asked why?" He said , "That's all he knew". I said, "I'm being sent home and we don't know the
 reason?" "No". "For how long?" "Not sure." I stood there for a few seconds, turned and walked
 out through the front door lobby feeling defeated. How would you feel?
 This all originated because I wrote a letter reaching out for help regarding the hostile and
 offensive work environment. No words can express how I felt by their retaliations, their
 intimidating tactics, their manipulated behavior, or their verbal derogatory fashion by using their
 titles and their race to benefit their mission.



 Sincerely, /},


 ~erry~




                                                     4.
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                                 dJ l f)   tf   ll~e,,   t/



    StaffMert1.ber#2,going toher classroom and peering through the window of the classroom door
    multiple times, causing her considerable concern.

    Staff Member #3 (female) Mr. Perry inappropriately stared at Staff Member #3 while the two
    were assigned to work together. He stood close behind Staff member #3 for an extended period,
    and brought himself uncomfortably close to her face. Mr. Perry treated her in a hostile manner,
    including yelling at her, and slamming a ream of paper down on a table where Staff Member #3
    was working. Staff Member #3 is afraid of Mr. Perry.

    Staff Member #4 {female) Mr. Perry inappropriately stared at her, eyeing the front of her
    body and her backside for an uncomfortable period of time. Mr. Perry made inappropriate
    comments to her about her body and appearance, and frequently followed her around the school
    building. On one occasion, Mr. Perry waited until Staff Member #4 was alone and followed her
    into a room in an isolated part of the school. Mr. Perry asked her inappropriate personal
    questions, which Staff Member #4 believes had romantic overtones. On one occasion, Mr. Perry
    waited and watched for her to leave the school premises, and followed her in his vehicle.

    Staff Member #5 (female) Mr. Perry was hostile and insubordinate to a Staff Member#, a
    teacher, in her classroom, refused to perform his job duties and refused ~o obey her directions.
    When Staff Member #5 complained about Mr. Perry to school officials, he made inappropriate
    comments to her. Shortly thereafter, Staff Member #5 received a package of penis-shaped ·
    candies at her home address from an anonymous source. The staff member believes that Mr.
    Perry was the sender.

     Staff Member #6 (female) Mr. Perry inappropriately paced in front of the classroom of Staff
     Member #6, a teacher, frequently stalked her movements in the building, asked her inappropriate
     personal questions, making her feel uncomfortable.

    Staff Member #7         Mr. Perry was defiant and insubordinate to Staff Member #7, a teacher,
    refusing to put away his personai paperwork during class when directed to do so, and to instead
    pay attention to his assigned student. ivfr. Perry used a disrespectful and intimidating tone with
    this teacher, who specifically requested that Mr. Perry no longer be present in her classroom.

                                                  * * *

           In light of the above serious allegations of misconduct, whereby a number of professional
    and paraprofessional staff members have reported experiencing harassment and/or intimidation
    by complainant, as well as a number of reported instances where Mr. Perry simply failed to
    perform his duties, the District has an obligation to investigate these allegations and take
    appropriate action with respect to Mr. Perry, notwithstanding the pendency of the instant
    discrimination complaint.

           In summary, it is complainant's own conduct which has resulted in complainant's
    reassignment and the possible preferral of disciplinary charges against him. There is absolutely
    no basis for a finding of a retaliatory motive by the District. For the Commission to determine
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Staff Member #3 (female) lv1r. Perry inappropriately stared at Staff Member #3 while the two
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  Staff Member #7         Mr. Perry was defiant and insubordinate to Staff Member #7, a teacher,
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  pay attention to his assigned student. Mr. Perry used a disrespectful and intimidating tone with
  this teacher, who specifically requested that Mr. Perry no longer be present in her classroom.

                                                * * *

         In light of the above serious allegations of misconduct, whereby a number of professional
  and paraprofessional staff members have reported experiencing harassment and/or intimidation
  by complainant, as well as a number of reported instances where Mr. Perry simply failed to
  perform his duties, the District has an obligation to investigate these allegations and take
  appropriate action with respect to Mr. Perry, notwithstanding the pendency of the instant
  discrimination complaint.


       In summa.11' it is COJJJ)J)lli11lll1/J'Olfll t10JldUtl wJ,ci nas resultedin complainant's
 ~sslgnment and the possible preferral of disciplinary charges against him. There is absolutely
 , basis for a finding of a retaliatory motive by the District. For the Commission to determine

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                                   Exhibit 3                         Exhibit 4      !u-
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              Case 2:20-cv-05656-JMA-JMW Document 1 Filed 11/19/20 Page 14 of 18 PageID #: 153
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        EEOC Form 161 (11/16)                        U.S. EQUAL EMPLOYMENT OPPORTUNITY C OMMISSION

                                                              DISMISSAL AND NOTICE OF RIGHTS
        To:    Robert G Perry                                                                      From      New York District Office
               2579 Overlook Place                                                                           33 WhitehaH Street
               Baldwin, NY 11510                                                                             5th Floor
                                                                                                             New York, NY 10004



              D                          On behalf of person(s) aggrieved whose identity is
                                         CONFIDENTIAL (29 CFR §1601 . 7(a))
        EEOC Charge No.                                      EEOC Representative                                                   Telephone No.

                                                             Holly M. Shabazz,
        16G-2020-01066                                       State & Local Program Manager                                         (929) 506-5316
        THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
              D          The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

              D          Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

              D          The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

              D          Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                         discrimination to file your charge
              D          The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that !he
                         information obtained establishes violations of the statutes . This does not certify that the respondent is in comp{iance Wl'th
                         the statutes. No finding is made as to any other issues that might be construed as hav ing been raised by ti~
              [KJ        The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge .

              D          Other (briefly state)



                                                                      - NOTICE OF SUIT RIGHTS -
                                                                (See the additional information attached to this form.)

        Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
        Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
        You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
        lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
        lost. (The time limit for filing suit based on a claim under state law may be different.)

        Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
        alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
        before you file suit may not be collectible.

                                                                                  On behalf of the Commission-


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                                                                             ,,.                                                  September 17 2020
        Enclosures(s)                                                                                                                    (Date Mailed)
                                                                                 Judy A. Keenan,
                                                                                 District Director
        cc:
                   HALF HOLLOW HILLS
                   CENTRAL SCHOOL DISTRICT
                   Attn: Superintendent of School
                   525 Half Hollow Road
                   Dix Hills, NY 11746
Case 2:20-cv-05656-JMA-JMW Document 1 Filed 11/19/20 Page 15 of 18 PageID #: 154
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     ~ure with EEOC
  .in 161 (11/16)

                                             INFORMATION RELATED TO FILING SUIT
                                           UNDER THE LAWS ENFORCED BY THE EEOC

                               (This information relates to filing suit in Federal or State court under Federa.i Im-.,.
                      If you also plan to sue claiming violations of State law. please be aware that time ii,wts and ofher
                             provisions of State law may be s/Jotter or more limited t11an those described below.)


                                       Title VII of the Civil Rights Act, the Americans.with Disabilities Act (ADA),
PRIVATE SUIT RIGHTS
                                       the Genetic·Information ·Nondiscriminatiorr-Act-(GINA), orthe-Age-- --
                                       Discrimination in Employment Act (ADEA):

In order to pursue this matter further, you must file a lawsuit against the respondent(s} named in th e charge within
90 days of the date you receive this Notice. Therefore, you should keep a record of this date. Once this 90-
day period is over, your right to sue based on the charge referred to in this Notice will be lost. If you intend to
consult an attorney, you should do so promptly. Give your attorney a copy of this Notice, and its envelope, and tell
him or her the date you received it. Furthermore, in order to avoid any question that you did not act in a timely
manner, it is prudent that your suit be filed within 90 days of the date this Notice was mailed to you (as
indicated where the Notice is signed) or the date of the postmark, if later.
Your lawsuit may be filed in U.S. District Court or a State court of competent jurisdiction. (Usually, the appropriate
State court is the general civil trial court.) Whether you file in Federal or State court is a matter for you to decide
after talking to your attorney. Filing this Notice is not enough. You must file a "complaint" that contains a short
statement of the facts of your case which shows that you are entitled to relief. Courts often require that a copy of
your charge must be attached to the complaint you file in court. If so, you should remove your birth date from the
charge. Some courts will not accept your complaint where the charge includes a date of birth. Your suit may include
any matter alleged in the charge or, to the extent permitted by court decisions, matters like or related to the matters
alleged in the charge . Generally, suits are brought in the State where the alleged un lawful practice occurred . but in
some cases can be brought where relevant employm ent record s are kept, where the employment would nave
been, or where the respondent has its main office. If you have simple questions, you usually can gst answers from
the office of the clerk of the court where you are bringing suit, but do not expect that office to write your complaint
or make legal strategy decisions for you.

PRIVATE SUIT RIGHTS                    Equal Pay Act (EPA):

EPA suits must be filed in court within 2 years (3 years for willful violations) of the alleged EPA underpayment: back
pay due for violations that occurred more than 2 years (3 years) before you file suit may not be collectible. For
example, if you were underpaid under the EPA for work performed from 7/1/08 to 12/1/08, you should file suit
before 7/1/10 - not 12/1/10 -- in order to recover unpaid wages due for July 2008. This time limit for filing an EPA
suit is separate from the 90-day filing period under Title VII, the ADA, GINA or the ADEA referred to above.
Therefore, if you also plan to sue under Title VII , the ADA, GINA or the ADEA, in addition to suing on the EPA
claim, suit must be filed within 90 days of this Notice and within the 2- or 3-year EPA back pay recovery period .

ATTORNEY REPRESENTATION                   --   Title VII, the ADA or GINA:

If you cannot afford or have been unable to obtain a lawyer to represent you, the U.S. District Court having jurisdi~on        •
in our case may, in limited circumstances, assist ~ou in obtaining a law er. F{equests for suc'fi assistance musf be
made o e .S. District Court in the form and manner it requires you-s ould oe preparedte-explain-in:a'etail-your
efforts to retain an attorneyf Requests should be madE:,JNell befa(fl the end of th€; 90-day period mentioned above,
because such requests do not relieve you of the requirement to bring suit within 90 days.

ATTORNEY REFERRAL AND EEOC ASSISTANCE                             --   All Statutes:

You may contact the EEOC representative shown on your Notice if you need help in finding a lawyer or if you have any
questions about your legal rights, including advice on which U.S. District Court can hear your case. If you need to
inspect or obtain a copy of information in EEOC's file on the charge, please request it promptiy in writing and provide
your charge number (as shown on your Notice). While EEOC destroys charge files after a certa in time, all charge fifes
are kept for at least 6 months after our last action on the case. Therefore, if you file suit and want to review the cha rge
file , please make your review request within 6 months of this Notice. (Before filing suit, any request should be
made within the next 90 days.)

                    IF YOU FILE SUIT, PLEASE SEND A COPY OF YOUR COURT COMPLAINT TO THIS OFFICE.
          Case 2:20-cv-05656-JMA-JMW Document 1 Filed 11/19/20 Page 16 of 18 PageID #: 155
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                        New York District '~
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      D           Your charge was not timely fil ed wnn cc: v ~
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                  discrimination to file your charge

      D           The EEOC issues the following determination : Based upon its ,n,,od' in~,;..;,-,-, the ~'::OG .s ,~.abi~ ic c:n~
                  information obtained establishes violations of !he sia!utes. Thls a.oos r,ni
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                  the statutes. No finding is made as to any mt.er iSSU&"S mat
      []]         The EEOC has adopted the findings of the state or local fair employment practices agency that investigated ( t i s ~

      D           Other (briefly state)



                                                                                    - NOTICE OF SUIT RIGHTS -
                                                                          (See the additional information attached to this form.)

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                                                                                                              On behalf ot the Commission

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                                                                                                                                                                                      September 17 2020
 Enclosures(s)                                                                                                                                                                                    (Date Mc} l.-ed')
                                                                                                             Judy A. Keenan,
                                                                                                             District Director
cc:
          HALF HOLLOW HILLS
          CENTRAL SCHOOL DISTRICT
          Attn: Superintendent of School
          525 Half Hollow Road
          Dix Hills, NY 11746
                             Case 2:20-cv-05656-JMA-JMW Document 1 Filed 11/19/20 Page 17 of 18 PageID #: 156




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              New York District
             33 Wl1itehall Street, 5th Fl
                New York, N.Y. 10004

                  OFFICIAL BUSINESS
             PENALTY FOR PRI\/ ATE USE, $300




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